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                     IN THE UNITED STATES DISTRICT COURT

                   FOR THE WESTERN DISTRICT OF WISCONSIN

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UNITED STATES OF AMERICA,
                                                                ORDER
                            Plaintiff,
                                                               09-cr-104-bbc
              v.

SHANA CORBINE,

                            Defendant.

- - - - - - - - - - - - - - - - - - - - - - - - - - - - - - - - - - - - - - - - - - - - -

       Defendant Shana Corbine has filed a motion in which she asks the court to take

action regarding a pending state prosecution. She does not identify the proceeding or the

court but says she has petitioned the state court to dismiss the state proceeding. She asks

that in the event the state court denies the motion to dismiss and imposes a term of

imprisonment, this court run any such sentence concurrently with the sentence imposed in

this court.

       The motion must be denied. Defendant has not been sentenced and may never be,

so it would be premature to act on her motion. In any event, it is often the case that state

courts will dismiss a proceeding if the federal court has imposed a lengthy term of

imprisonment on the defendant. If the state court were to act, defendant should ask that


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court to run its sentence concurrently with this court’s sentence, rather than ask this court

to run its sentence concurrently with one that has never taken effect.

       It appears from the motion that defendant wants this court to check with the state

court to see whether the pending state charges will be dismissed. Without knowing where

the proceeding is pending, I could not make such an inquiry.

       If defendant has any additional questions, she should write directly to the probation

officer who prepared her presentence report, Shawn Robinson.

       Entered this 26th day of August, 2010.

                                          BY THE COURT:

                                          /s/

                                          BARBARA B. CRABB
                                          District Judge




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